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                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                         JUL 13 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
GLORIA JOHNSON; JOHN LOGAN,                      No.    20-35752
individuals, on behalf of themselves and all            20-35881
others similarly situated,
                                                 D.C. No. 1:18-cv-01823-CL
                  Plaintiffs-Appellees,          District of Oregon,
                                                 Medford
 v.
                                                 ORDER
CITY OF GRANTS PASS,

                  Defendant-Appellant.

Before: GOULD and COLLINS, Circuit Judges, and SILVER,* District Judge.

      Defendant-Appellant’s motion to stay the mandate (Dkt. 101) is GRANTED.

Per the motion, the time to file a request for attorneys’ fees is EXTENDED until 14

days after the stay of the mandate expires.




      *
             The Honorable Roslyn O. Silver, United States District Judge for the
District of Arizona, sitting by designation.
